       Case 2:13-cv-07924-WJM-MF Document 3 Filed 01/02/14 Page 1 of 2 PageID: 57


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     January 2, 2014

     Honorable William J. Martini, U.S.D.J.
     United States District Court
      District of New Jersey
     50 Walnut Street
     Newark, NJ 07101

             Re:     Hoffman v. Clemens, et al.
                     Civil Action No. 13-7924 (WJM)(MF)

     Honorable Judge Martini:

     I am the Plaintiff pro se in this action. I am also admitted to practice before this Court.

     This civil action was originally filed in the Superior Court of New Jersey. It was
     removed by Defendant Whole Body Research, LLC (“WBR, LLC”) on December 31,
     2013 (ECF #1). In the removal petition, WBR, LLC alleges federal jurisdiction under the
     Class Action Fairness Act (“CAFA”) (ECF #1, ¶13). To sustain CAFA jurisdiction, WBR,
     LLC must demonstrate that “minimal diversity” exists. In an effort to establish minimal
     diversity, WBR, LLC alleges that Plaintiff is a citizen of New Jersey (ECF #1, ¶14) and
     that WBR, LLC is a California limited liability company (ECF #1, ¶14). This, according
     to WBR, LLC, establishes minimal diversity (ECF #1, ¶16).

     We respectfully disagree.

     As this Court well knows, the citizenship of an LLC is determined by the citizenship of
     each of its members. See, Emergency Physicians of St. Clare's, LLC v. Proassurance
     Corporation, Civil Action No. 09–6244, 2010 WL 3311861 (D.N.J. 2010) (Martini, J.), citing
     Zambelli Fireworks Mfg. Co., Inc. v. Wood, 592 F.3d 412 (3d Cir. 2010). Thus, any attempt
     by WBR, LLC to establish minimal diversity must start with identification of each of its
     members.



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 Case 2:13-cv-07924-WJM-MF Document 3 Filed 01/02/14 Page 2 of 2 PageID: 58



Rather than address this fundamental point of federal jurisdiction by motion, Plaintiff
respectfully requests that WBR, LLC be directed to file a sworn declaration disclosing
the identity and citizenship of each of its members.

Respectfully yours,

Harold M. Hoffman

cc: Counsel for Defendant (by ECF)




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